          IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLIN
                      CHARLOTTE DIVISION
                   CIVIL ACTION NO. 3:05CR2-V


UNITED STATES OF AMERICA                           )
                                                   )
                        Plaintiff,                 )
                                                   )
            v.                                     )     ORDER
                                                   )
MARROW SOTO CHAVEZ,                                )
                                                   )
                        Defendant.                 )

_________________________________________



      THIS MATTER is before the Court on “Motion Granting Permission To

Appear Pro Hac Vice” filed August 8, 2005 on behalf of Defendant Marrow Soto

Chavez, which is hereby GRANTED.

      The Clerk is directed to send copies of this Order to counsel for the

parties, including but not limited to moving counsel.

      SO ORDERED.




   Case 3:05-cr-00002-RJC-DSC        Document 49   Filed 08/15/05   Page 1 of 3
Case 3:05-cr-00002-RJC-DSC   Document 49   Filed 08/15/05   Page 2 of 3
                    Signed: August 15, 2005




Case 3:05-cr-00002-RJC-DSC   Document 49   Filed 08/15/05   Page 3 of 3
